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     ~AO 2458 (CASD) (Rev. 4114)    Judgment in a S:riminal Case
                                                                                                                                      FilED
                Sheet I


                                                                                                                                CL-EHU.S. ()13THICT C()(fRT
                                               UNITED STATES DISTRICT COURT                                                       HEHN DISTHICT Of CALlfOHNIA
                                                                                                                                                           DEPUTY
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                         v.                                        (For Offenses Committed On or After November I, 1987)

                      LUIGI GIOVANNI-SANTIAGO                                      Case Number: 14CR3568-BTM
                                                                                    THOMAS MATTHEWS
                                                                                   Defendant's Attorney
     REGISTRATION NO_ 48215298

     o
     THE DEFENDANT:
     jgJ pleaded guilty to count(s) _I_O_F_T_H_E_IN_D_IC_T_M_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o     was found guilty on count(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 846, 841(a)(I)                 CONSPIRACY TO DISTRIBUTE COCAINE




        The defendant is sentenced as provided in pages 2 through      4     of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 jgJ Count(s) REMAINING COUNTS OF THE INDICTMENT                                     is jgJ   areO dismissed on the motion of the United States.
 181 Assessment: $100 to be paid at the rate of $25 per quarter through the Inmate Financial Responsibility Program.

  jgJ Fine waived                                   o
                                                    Forfeiture pursuant to order filed                                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are futty paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               MAY 22, 2015



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                                                                              ~YTEDMOSKOWI~
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                              14CR3568-BTM
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AD 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                             Judgment - Page     2    of        4
DEFENDANT: LUIGI GIOVANNI-SANTIAGO
 CASE NUMBER: 14CR3568-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         THIRTY (30) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the 500 hour RDAP program and that he serve his sentence in Southern California to
         facilitate family visits.



    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ---------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                 to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL

                                                                   By
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                     14CR3568-BTM
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AD 2458 (CAS D) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                             Judgment-Page __3__ of               4
DEFENDANT: LUIGI GIOVANNI-SANTIAGO                                                                   II
CASE NUMBER: 14CR3568-BTM
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on 01' after September J3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shaH refrain from any unlawful use ofa controlled
substance. Thc defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         --

o The  above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
   future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000,.pursuanl 10 18 USC sections 3563(a)(7) and 3583(d).
o byThethedefendant shall comply with tfie requirements of the Sex Offender'Registralion and Notification Act (42 U.S.C. § 16901, el seq.) as directed
            probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
  was convicted of a qualifying offense. (Check if applicable.)
o defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
  The
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notifY Ihird parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

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          AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                     Sheet 4 - Special Conditions
                                                                                                        Judgment-Page      4    of      4
          DEFENDANT: LUIGI GIOVANNI-SANTIAGO                                                       II
          CASE NUMBER: 14CR3568-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
IVI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per monIh as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer, except to reside in Mexico with family.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.

o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o placement.
  Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive


181 Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within days.
o Complete hours of community service in a program approved by the probation officer within
o
o   If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




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